  Case: 1:17-md-02804-DAP Doc #: 5010 Filed: 04/21/23 1 of 2. PageID #: 611967




                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                    MDL No. 2804
OPIATE LITIGATION
                                                Case No. 1:17-md-2804
This document relates to:
                                                JUDGE DAN AARON POLSTER
All Cases Noted on Attached Appendix


                  STIPULATION OF DISMISSAL WITH PREJUDICE
              PURSUANT TO NEW MEXICO SETTLEMENT AGREEMENT

       The undersigned Parties (the “Parties”) have settled the above-referenced litigation

against Albertsons LLC (“Albertsons”) pursuant to the Albertsons New Mexico Settlement

Agreement, executed on December 7, 2022, in which Plaintiffs – the New Mexico subdivisions

listed in Appendix A – have elected to participate. Pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), Plaintiffs and Defendants Albertsons agree that all claims of Plaintiffs in the

actions identified in Appendix A against Albertsons are dismissed with prejudice, with each

party to bear its own costs.


Dated April 19, 2023                        Respectfully submitted,

                                            ATTORNEYS FOR PLAINTIFFS

                                            /s/Peter J. Mougey_________
                                            Peter J. Mougey
                                            Jeff R. Gaddy
                                            Levin, Papantonio, Rafferty, Proctor
                                            Buchanan, O’Brien, Barr & Mougey, P.A.
                                            316 S. Baylen Street, Suite 600
                                            Pensacola, FL 32502
                                            850-435-7068
                                            pmougey@levinlaw.com
                                            jgaddy@levinlaw.com
 Case: 1:17-md-02804-DAP Doc #: 5010 Filed: 04/21/23 2 of 2. PageID #: 611968




                                     /s/Jayne Conroy
                                     Jayne Conroy
                                     Simmon Hanly Conroy
                                     112 Madison Avenue, 7th Floor
                                     New York, NY 10016
                                     (212) 784-6400
                                     jconroy@simmonsfirm.com

                                     /s/Krista Baisch
                                     Krista Baisch
                                     Crueger Dickinson
                                     4532 N Oakland Avenue
                                     Whitefish Bay, WI 53211
                                     (414) 210-3868
                                     kkb@cruegerdickinson.com

                                     /s/Shayna E. Sacks
                                     Shayna E. Sacks
                                     Napoli Shkolnik PLLC
                                     360 Lexington Ave.
                                     11th floor
                                     New York, New York 10017
                                     (212) 397-1000
                                     ssacks@napolilaw.com

                                     ALBERTSONS LLC

                                     /s/Francis A. Citera
                                     Francis A. Citera
                                     Greenberg Traurig LLP
                                     77 West Wacker Drive
                                     Suite 3100
                                     Chicago IL 60601
                                     Tel: (312) 456-8413
                                     Counsel for Defendant Albertsons LLC




SO ORDERED this 21st day of April,
2023.

________________________________
      /s/Dan Aaron Polster
Hon. Dan Aaron Polster
United States District Judge




                                       2
